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      5
          Attorney for Defendant
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      6
                                    IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
      7

      8

      9   UNITED STATES OF AMERICA,                        )       No. CR-S-11-134 JAM
                                                           )
                                                           )
     10             Plaintiff,                             )       STIPULATION REGARDING
     11
                                                           )       EXCLUDABLE TIME PERIODS
          v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                           )       AND ORDER
     12
          JUAN LOPEZ ALVARADO, et al.,                     )
                                                           )       Date: August 7, 2012
     13
                                                           )       Time: 9:45 a.m.
                    Defendants.                            )       Judge: Honorable John A. Mendez
     14
                                                           )
                                                           )
     15
                                                           )
     16
                    The United States of America through its undersigned counsel, Michael M. Beckwith,
     17
          Assistant United States Attorney, together with counsel for defendant Edward Michael
     18

     19   Tulysewski, Michael L. Chastaine, Esq., counsel for defendant Estanislao Garcia, Arturo

     20   Hernandez, Esq., counsel for defendant Fred Pineda, John R. Manning, Esq., and counsel for
     21
          defendant Jose Mario Medrano, Matthew McCrary Scoble, Esq., hereby stipulate the following:
     22
               1. By previous order, this matter was set for status conference on July 10, 2012.
     23

     24
               2. By this stipulation, defendants now move to continue the status conference until August

     25   7, 2012 at 9:45 a.m. and to exclude time between July 10, 2012 and August 7, 2012 under the
     26
          Local Codes T-2 (unusual or complex case) and T-4 (to allow defense counsel time to prepare).
     27
               3.   The parties agree and stipulate, and request the Court find the following:
     28




                                                               1


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                a. This is a complex case, including 5,000 pages of discovery as well as three discs of
      1

      2               recorded phone calls (containing hundreds of recorded conversations), and five co-

      3               defendants (a total of 13 Indicted).   Some defendants are currently incarcerated at
      4
                      the Butte County Jail in Oroville, California; approximately 120 miles roundtrip from
      5
                      downtown Sacramento.
      6

      7
                b.    Counsel for the defendants need additional time to review the discovery; review

      8               investigation reports; discuss USSG calculations with defendants; and, review
      9               proposed plea agreements.
     10
                c. Counsel for defendants believe the failure to grant a continuance in this case would
     11
                      deny defense counsel reasonable time necessary for effective preparation, taking into
     12

     13               account the exercise of due diligence.

     14         d. The Government does not object to the continuance.
     15
                e. Based on the above-stated findings, the ends of justice served by granting the
     16
                      requested continuance outweigh the best interests of the public and the defendants in
     17
                      a speedy trial within the original date prescribed by the Speedy Trial Act.
     18

     19         f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

     20               Section 3161(h)(7)(A) within which trial must commence, the time period of July 10,
     21
                      2012 to August 7, 2012, inclusive, is deemed excludable pursuant to 18 United States
     22
                      Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local Codes T-2
     23

     24
                      and T-4 because it results from a continuance granted by the Court at defendant’s

     25               request on the basis of the Court’s finding that the ends of justice served by taking
     26               such action outweigh the best interest of the public and the defendant in a speedy
     27
                      trial.
     28




                                                             2


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          4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
      1

      2      Speedy Trial Act dictate that additional time periods are excludable from the period within

      3      which a trial must commence.
      4
          IT IS SO STIPULATED.
      5

      6   Dated: July 5, 2012                                          /s/ Michael L. Chastaine
                                                                       MICHAEL L. CHASTAINE
      7                                                                Attorney for Defendant
      8
                                                                       Edward Michael Tulysewski

      9   Dated: July 5, 2012                                          /s/ Arturo Hernandez
                                                                       ARTURO HERNANDEZ
     10                                                                Attorney for Defendant
     11
                                                                       Estanislao Garcia

     12   Dated: July 5, 2012                                           /s/ John R. Manning
                                                                       JOHN R. MANNING
     13
                                                                       Attorney for Defendant
     14                                                                Fred Pineda

     15   Dated: July 5, 2012                                           /s/ Matthew McCrary Scoble
                                                                       MATTHEW MCCRARY SCOBLE
     16
                                                                       Attorney for Defendant
     17                                                                Jose Mario Medrano

     18
          Dated: July 5, 2012                                          Benjamin B. Wagner
     19
                                                                       United States Attorney
     20
                                                               by:     /s/ Michael M. Beckwith
     21                                                                MICHAEL M. BECKWITH
                                                                       Assistant U.S. Attorney
     22

     23
                                            ORDER
     24
                  IT IS SO FOUND AND ORDERED this 6th day of July, 2012.
     25

     26

     27                                                        /s/ John A. Mendez____________
                                                               John A. Mendez
     28                                                        United States District Court Judge


                                                           3


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